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6                                UNITED STATES DISTRICT COURT
7                                       DISTRICT OF NEVADA
8                                                  ***
9      UNITED STATES OF AMERICA,                        Case No. 2:11-cr-00396-MMD-PAL
10                                         Plaintiff,
                                                                       ORDER
11            v.
12     OMAR GAMEZ,
13                                      Defendant.
14

15            Before the Court is Defendant Omar Gamez’s Motion to Dismiss Attorney of

16     Record (dkt. no. 121). Pursuant to Local Rule IA 10-6, a party who is represented by

17     counsel may not appear or act in the case. Therefore, Defendant’s motion will be

18     DENIED as it is procedurally barred. However, the Clerk is directed to forward a copy

19     of dkt. no. 121 to Defendant’s counsel and counsel is directed to meet and confer with

20     her client within five (5) business days to determine if there is any reason why counsel

21     believes she would not be able to meaningfully represent Defendant Omar Gamez

22     further in these proceedings. A sealed status conference is scheduled for January 15,

23     2013, at 9:00 a.m. for the Court to address this issue.

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25            DATED THIS 3rd day of January 2013.

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27                                                MIRANDA M. DU
                                                  UNITED STATES DISTRICT JUDGE
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